                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                CASE NO: 6:23-cr-3-RBD-DCI

MOAD MOHAMED BENKABBOU


                     ACCEPTANCE OF PLEA OF GUILTY,
                      ADJUDICATION OF GUILT, AND
                        NOTICE OF SENTENCING

      The Court adopts the Report and Recommendation Concerning Plea of

Guilty (Doc. 47) entered by the Honorable Daniel C. Irick, United States Magistrate

Judge, to which Notices of No Objection have been filed (Docs. 48 and 49). The

Court hereby accepts the Defendant’s plea of guilty to Counts One and Two of the

Indictment, and the Defendant is adjudged guilty of such offenses.

      SENTENCING for the Defendant is hereby scheduled for Tuesday, August

29, 2023, at 10:00 AM before the undersigned in the United States Courthouse,

Courtroom 4A, Fourth Floor, 401 West Central Boulevard, Orlando, Florida 32801.

      IF THE PARTIES WANT THE COURT TO CONSIDER ANY MOTION FOR

DEPARTURE OR OTHER WRITTEN MATERIAL OTHER THAN THE PRE-

SENTENCE INVESTIGATION REPORT, IT MUST BE SUBMITTED NO LATER

THAN SEVEN (7) DAYS PRIOR TO THE DATE OF SENTENCING.

      DONE AND ORDERED in Chambers in Orlando, Florida, on May 8, 2023.
Copies:   Counsel of Record




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